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                            UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF MICHIGAN

In re:                                 )                              Chapter 11
                                       )
BARFLY VENTURES, LLC, et al.,1         )                              Case No. 20-01947-jwb
                                       )
                  Debtors.             )                              Jointly Administered
_______________________________________)

          ORDER GRANTING MOTION FOR ORDER PROVIDING ADEQUATE
                       PROTECTION OF PACA CLAIM


         THIS MATTER having come before the Court on MOTION FOR ORDER

PROVIDING ADEQUATE PROTECTION OF PACA CLAIM (the “Motion”), for good cause

shown, the Motion is hereby GRANTED.

         IT IS HEREBY ORDERED that GFS’s claim under the Perishable Agricultural

Commodities Act of 1930, as amended, 7 U.S.C. §§ 499a et seq. (“PACA”) totaling $349,185.14

as of the date of the Motion (the “PACA Claim”) constitutes a valid claim under PACA and is

entitled to all of the protections therein;

         IT IS FURTHER ORDERED that the Debtors’ assets are subject to a floating PACA

trust;

         IT IS FURTHER ORDERED that Debtors shall, as adequate protection transfer funds

in an amount sufficient to satisfy the PACA Claim from their operating account to a separate,




1
  The Debtors and the last four digits of their federal employment identification number are: Barfly Ventures, LLC
(8379); 9 Volt, LLC (d/b/a HopCat) (1129); 50 Amp Fuse, LLC (d/b/a Stella’s Lounge) (3684); GRBC Holdings,
LLC (d/b/a Grand Rapids Brewing Company) (2130); E L Brewpub, LLC (d/b/a HopCat East Lansing) (5334);
HopCat-Ann Arbor, LLC (5229); HopCatChicago, LLC (7552); HopCat-Concessions, LLC (2597); HopCat-Detroit,
LLC (8519); HopCatGR Beltline, LLC (9149); HopCat-Holland, LLC (7132); HopCat-Indianapolis, LLC (d/b/a
HopCat-Broad Ripple) (7970); HopCat-Kalamazoo, LLC (8992); HopCat-Kansas City, LLC (d/b/a HopCat,-KC,
LLC and Tikicat) (6242); HopCat-Lexington, LLC (6748); HopCat-Lincoln, LLC (2999); HopCat-Louisville, LLC
(0252); HopCat-Madison, LLC (9108); HopCatMinneapolis, LLC (8622); HopCat-Port St. Lucie, LLC (0616);
HopCat-Royal Oak, LLC (1935); HopCat-St. Louis, LLC (6994); Luck of the Irish, LLC (d/b/a The Waldron Public
House, LLC and McFadden’s Restaurant Saloon) (4255).
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 segregated account to be held in trust for GFS pending resolution of these proceedings pursuant

 to section 363(e) of the Bankruptcy Code.


                                         END OF ORDER




 PREPARED BY:

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 Counsel for Gordon Food Service, Inc.




IT IS SO ORDERED.

Dated October 13, 2020
